           Case 6:19-cv-00388-ADA Document 25 Filed 09/03/19 Page 1 of 9




                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

FRESHUB, INC., a Delaware Corporation, and
FRESHUB, LTD., an Israeli Limited Liability Com-
pany,

                     Plaintiffs,
                                                   Case No. 6:19-cv-388-ADA
      v.

AMAZON.COM, INC., a Delaware Corporation,
AMAZON DIGITAL SERVICES, LLC, a Delaware
Limited Liability Company, PRIME NOW, LLC, a
Delaware Limited Liability Company, and WHOLE
FOODS MARKET, INC., a Texas Corporation,

                     Defendants.


    DEFENDANTS’ REPLY IN SUPPORT OF MOTION FOR INTRA-DISTRICT
 TRANSFER TO THE AUSTIN DIVISION OF THE WESTERN DISTRICT OF TEXAS

                                              Barry K. Shelton (TX Bar #24055029)
                                              bshelton@sheltoncoburn.com
                                              SHELTON COBURN LLP
Of Counsel:                                   311 RR 620 S, Suite 205
                                              Austin, TX 78734
J. David Hadden (CSB No. 176148)              Tel: (512) 263-2165
Email: dhadden@fenwick.com                    Fax: (512) 263-2166
Saina S. Shamilov (CSB No. 215636)
Email: sshamilov@fenwick.com                  Counsel for Defendants
Ravi R. Ranganath (CSB No. 272981)            AMAZON.COM, INC.,
rranganath@fenwick.com                        AMAZON DIGITAL SERVICES, LLC,
Vigen Salmastlian (CSB No. 276846)            PRIME NOW, LLC, and
Email: vsalmastlian@fenwick.com               WHOLE FOODS MARKET, INC.
FENWICK & WEST LLP
Silicon Valley Center
801 California Street
Mountain View, CA 94041
Telephone:     650.988.8500
Facsimile:     650.938.5200

 September 3, 2019
     Case 6:19-cv-00388-ADA Document 25 Filed 09/03/19 Page 2 of 9




                               TABLE OF CONTENTS/

                                                                                                 Page

I.       FRESHUB DOES NOT RAISE A SINGLE ARGUMENT AS TO
         WHY WHOLE FOODS’ MOTION TO TRANSFER SHOULD
         BE DENIED. --------------------------------------------------------------------------------- 1

II.      AMAZON DID NOT CONSENT TO VENUE IN THE WACO
         DIVISION OR WAIVE ANY OBJECTIONS BASED ON
         INCONVENIENCE. ------------------------------------------------------------------------ 1

III.     AMAZON DOES NOT HAVE ANY FULFILLMENT CENTERS
         OR JOB POSTINGS IN THE WACO DIVISION. ------------------------------------ 2

IV.      AMAZON’S SALES TO WACO RESIDENTS DO NOT
         ESTABLISH THAT WACO IS THE CONVENIENT FORUM
         FOR THIS DISPUTE. ---------------------------------------------------------------------- 2

V.       FRESHUB IS WRONG AS A MATTER OF LAW WHEN IT
         ARGUES THAT THE LOCATION OF EVIDENCE IS
         IRRELEVANT.------------------------------------------------------------------------------ 3

VI.      FRESHUB IS WRONG AS A MATTER OF LAW WHEN IT
         ARGUES THAT THE DISTANCE OF 100 MILES BETWEEN
         WACO AND AUSTIN DOES NOT MAKE WACO AN
         INCONVENIENT FORUM. -------------------------------------------------------------- 4

VII.     FRESHUB MISREPRESENTS THE UNCONTROVERTED
         TESTIMONY OF AMAZON AND WHOLE FOODS’
         DECLARANTS.----------------------------------------------------------------------------- 4

VIII. THIS CASE IS NO DIFFERENT THAN DATA SCAPE AND
      TRANSFER TO AUSTIN IS WARRANTED. ----------------------------------------- 5




                                               i
        Case 6:19-cv-00388-ADA Document 25 Filed 09/03/19 Page 3 of 9




                                   TABLE OF AUTHORITIES

                                                                                                  Page(s)

CASES

  Data Scape, Ltd. v. Dell Techs., Inc.,
     No. 6:19-cv-129-ADA, Dkt. 44 (W.D. Tex. June 7, 2019) --------------------------------- 3, 5

  DataQuill, Ltd. v. Apple Inc.,
     No. A-13-CA-706-SS, 2014 WL 2722201 (W.D. Tex. June 13, 2014) ---------------------- 4

  Hammond Dev. Int’l, Inc. v. Amazon.com, Inc.,
    No. 6:19-cv-355-ADA, Dkt. 30 (W.D. Tex. Aug. 27, 2019) ---------------------------------- 1

  In re Cray Inc.,
      871 F.3d 1355 (Fed. Cir. 2017) -------------------------------------------------------------------- 3

  Mimedx Grp., Inc. v. Texas Human Biologics, Ltd.,
     Case No. 1:14-cv-464-LY, 2014 WL 12479284
     (W.D. Tex. Aug. 12, 2014) ------------------------------------------------------------------------- 4

  MV3 Partners LLC v. Roku, Inc.,
    No. 6:18-cv-308-ADA, Dkt. 74 (W.D. Tex. June 25, 2019) ----------------------------------- 4

  Prokop v. Stonemor Partners LP,
     No. 09 CV 4323, 2009 WL 3764103 (N.D. Ill. Nov. 9, 2009) -------------------------------- 2

  Rensselaer Polytechnic Institute v. Amazon.com, Inc.
     No. 1:18-cv-00549 (BKS/CFH), 2019 WL 3755446
     (N.D.N.Y. Aug. 7, 2019) ------------------------------------------------------------------------- 2, 3

  Verizon Employee Benefits Committee v. Heinlein,
     No. 3:05-cv-2120-L, 2006 WL 8437665 (N.D. Tex. Nov. 8, 2006) -------------------------- 3




                                                   ii
          Case 6:19-cv-00388-ADA Document 25 Filed 09/03/19 Page 4 of 9




       Neither Freshub nor any of the defendants is based in or maintains any offices in the Waco

Division. No relevant documents or source code exist in the Waco Division and no party or non-

party witnesses reside in the Waco Division. Whole Foods has its headquarters and relevant em-

ployees in Austin and Amazon has both offices and relevant employees there. Freshub does not

dispute any of these facts. Yet, it opposes transfer of this case to Austin, while failing to identify

even a single witness for whom Waco would be a more convenient venue than Austin. This case

should be litigated in Austin and none of Freshub’s arguments changes that conclusion.

I.     FRESHUB DOES NOT RAISE A SINGLE ARGUMENT AS TO WHY WHOLE
       FOODS’ MOTION TO TRANSFER SHOULD BE DENIED.
       Freshub identifies no connection between Whole Foods and the Waco Division. It cites no

evidence that Whole Foods has targeted residents of the Waco Division. It cites no physical loca-

tion associated with Whole Foods in the Waco Division. It does not even attempt to argue that the

case against Whole Foods belongs in the Waco Division, because it does not.

II.    AMAZON DID NOT CONSENT TO VENUE IN THE WACO DIVISION OR
       WAIVE ANY OBJECTIONS BASED ON INCONVENIENCE.
       Freshub argues that the motion filed by Amazon and Whole Foods should be denied be-

cause, in another case pending in this division, “Amazon has not raised any issue relating to con-

venience in appearing in the Waco Division” in its answer. (Opp. at 5.) Here is what Amazon

pled in that answer:
               11.    For purposes of this action, and this action only, Defendants
               consent to venue [in] this judicial district. Defendants deny that the
               Waco Division is the most convenient venue for this action and deny
               the remaining allegations of Paragraph 11 of the Complaint.
(Dkt. 24-7 (Amazon’s Answer in Hammond Dev. Int’l, Inc. v. Amazon.com, Inc., No. 6:19-cv-355-

ADA (W.D. Tex.) (“Hammond”)) ¶ 11 (emphasis added).) And consistent with its answer to the

venue allegations in Hammond, Amazon filed a motion for intra-district transfer to the Austin

Division in that case, just as it has done here. Hammond, Dkt. 30 (Aug. 27, 2019) (Amazon’s



                                                  1
               Case 6:19-cv-00388-ADA Document 25 Filed 09/03/19 Page 5 of 9




Opposed Motion for Intra-District Transfer of Venue to the Austin Division of the Western District

of Texas).

III.         AMAZON DOES NOT HAVE ANY FULFILLMENT CENTERS OR JOB POST-
             INGS IN THE WACO DIVISION.
             Freshub argues that the motion filed by Amazon and Whole Foods should be denied be-

cause it relied in its complaint “on Amazon’s fulfillment center in West, Texas in the Waco Divi-

sion including several public job postings advertising a number of distribution jobs in that town.”

(Opp. at 4.) Tim Thompson testified under oath that Amazon does not maintain any fulfillment

centers in any of the counties falling within the Waco Division, including in McLennan County,

which includes the city of West. (Thompson Decl. ¶ 9); see Prokop v. Stonemor Partners LP, No.

09 CV 4323, 2009 WL 3764103, at *2 (N.D. Ill. Nov. 9, 2009) (courts need not accept allegations

in the complaint as true if “they conflict with affidavits or other appropriate evidence submitted

by the defendant.”). This should be no surprise to Freshub: it attached a document to its complaint

that purported to list the locations of Amazon’s fulfillment centers in the State of Texas, and that

document shows no fulfillment center in West, Texas. (Dkt. 1-3 (Ex. 3 to Complaint) at p. 8.)

And because it has no fulfillment center or other offices in West, Texas, Amazon is not hiring any

employees in West, Texas. (Declaration of Robert Rathbun ¶ 2.) The unauthenticated job postings

Freshub attached to its complaint—which appear on a third-party website—are wrong, and no such

jobs exist in West, Texas. (Id. ¶¶ 3-7.)

IV.          AMAZON’S SALES TO WACO RESIDENTS DO NOT ESTABLISH THAT
             WACO IS THE CONVENIENT FORUM FOR THIS DISPUTE.
             Freshub argues that the motion filed by Amazon and Whole Foods should be denied be-

cause Amazon has “Amazon Locker” locations in the Waco Division. (Opp. at 3.) But the pres-

ence of these lockers establishes only that venue may be proper in this judicial district, not that it

would be more convenient to litigate this case in Waco than in Austin. 1 Freshub also contends

       1
           The court in Rensselaer Polytechnic Institute v. Amazon.com, Inc. discussed Amazon Lockers


                                                    2
          Case 6:19-cv-00388-ADA Document 25 Filed 09/03/19 Page 6 of 9




that the motion should be denied because “Amazon [not Whole Foods] has made efforts to specif-

ically target residents of the Waco Division for product sales and delivery services” in Waco and

14 other cities around the country. (Opp. at 3.) Again, such sales and deliveries do not show that

it would be more convenient to litigate this case in Waco than in Austin; at best they are only

relevant to personal jurisdiction, which Amazon does not challenge in this case. See, e.g., Verizon

Employee Benefits Committee v. Heinlein, No. 3:05-cv-2120-L, 2006 WL 8437665, at *1 (N.D.

Tex. Nov. 8, 2006) (finding personal jurisdiction over defendant but transferring case on conven-

ience grounds). 2 Freshub further contends that Amazon’s sales give Waco residents “a local in-

terest in deciding this case.” (Opp. at 5.) That interest, however, is no different than the interest

of residents of other cities to which Amazon ships its products, including Austin. As the Court

noted in granting intra-district transfer in Data Scape, Ltd. v. Dell Technologies, Inc., the proper

consideration is the “relative interests between the transferee and transferor forums.” No. 19-cv-

129-ADA, Dkt. 44 at 6 (W.D. Tex. June 7, 2019) (emphasis in original). Since Amazon and Whole

Foods have a substantial presence in Austin, and none in Waco, this case “affects local Austin

interests more acutely than local Waco interests.” Id.

V.     FRESHUB IS WRONG AS A MATTER OF LAW WHEN IT ARGUES THAT
       THE LOCATION OF EVIDENCE IS IRRELEVANT.
       Freshub argues that the Court should completely disregard the location of relevant evidence

because “[i]t is irrelevant where documents are stored when they can be electronically collected,

searched, and produced.” (Opp. at 6.) Freshub is wrong as a matter of law: “[t]he Fifth Circuit

has cautioned this factor remains relevant despite technological advances having made electronic

in assessing whether venue was proper under § 1400(b); it did not consider the lockers in its anal-
ysis of the convenience factors under § 1404(a). No. 1:18-cv-00549 (BKS/CFH), 2019 WL
3755446, at *14-16 (N.D.N.Y. Aug. 7, 2019).
    2
      And, of course, contrary to Freshub’s passing suggestion, Echo devices in customers’ homes
do not “constitute compact physical places of business” as a matter of law. (Opp. at 1.) See In re
Cray Inc., 871 F.3d 1355, 1362-63 (Fed. Cir. 2017) (regular and established place of business for
purposes of venue under§ 1400(b) must be a place of business owned or ratified by the defendant).


                                                 3
            Case 6:19-cv-00388-ADA Document 25 Filed 09/03/19 Page 7 of 9




document production commonplace.” 3 DataQuill, Ltd. v. Apple Inc., No. A-13-CA-706-SS, 2014

WL 2722201, at *3 (W.D. Tex. June 13, 2014) (citing In re Volkswagen of Am., Inc., 545 F.3d

304, 316 (5th Cir. 2008) (en banc)). And the uncontroverted testimony of Mr. Thompson and Mr.

D’Souza shows that such evidence is maintained in Austin, and no such evidence is maintained in

Waco. (Thompson Decl. ¶¶ 6, 8; D’Souza Decl. ¶¶ 5-6.)

VI.       FRESHUB IS WRONG AS A MATTER OF LAW WHEN IT ARGUES THAT
          THE DISTANCE OF 100 MILES BETWEEN WACO AND AUSTIN DOES NOT
          MAKE WACO AN INCONVENIENT FORUM.
          Freshub contends that the Court should not consider the inconvenience to the parties and

non-party witnesses of traveling from Austin to Waco because the two cities are only 100 miles

apart. But another court in this district found that a distance of only 80 miles between Austin and

San Antonio was sufficient to support intra-district transfer. Mimedx Grp., Inc. v. Texas Human

Biologics, Ltd., Case No. 1:14-cv-464-LY, 2014 WL 12479284, at *2 (W.D. Tex. Aug. 12, 2014).

VII.      FRESHUB MISREPRESENTS THE UNCONTROVERTED TESTIMONY OF
          AMAZON AND WHOLE FOODS’ DECLARANTS.
          Freshub argues that the Court should ignore the sworn testimony of Amazon and Whole

Foods’ declarants regarding the location of likely trial witnesses because they purportedly do not

identify specific employees who would be inconvenienced by traveling to Waco for trial. (Opp.

at 7.) But the Thompson and D’Souza declarations identify specific individuals—in addition to

the declarants themselves—who likely have information relevant to this case and for whom trial

in Austin would be more convenient than Waco. 4 (See Thompson Decl. ¶ 2 (lives and works in

      3
       MV3 Partners LLC v. Roku, Inc., No. 6:18-cv-308-ADA, Dkt. 74 (W.D. Tex. June 25, 2019)
did not hold otherwise. There, the Court did not hold that the location of electronic documents
was “irrelevant”—it held only that Roku had not shown why the electronic documents maintained
in its California headquarters could not be accessed from its office in Austin. Id. at 4 (“Roku does
not explain why its Austin office would have difficulty gaining access to such documents.”).
     4
       In MV3 Partners, LLC, the Court noted that the “movant must identify specific witnesses and
outline the substance of their testimony.” MV3 Partners, LLC, Dkt. 74 at 7 (emphasis in original).
The declarations of Mr. Thomas and D’Souza do exactly that, identifying specific individuals and
their relevant technical knowledge, on which their testimony would be based.


                                                 4
          Case 6:19-cv-00388-ADA Document 25 Filed 09/03/19 Page 8 of 9




Austin area and oversees DeviceOS team developing accused Echo devices), ¶ 5 (identifying Bala

Kumar, based in Austin, as a witness regarding “the platform layer of the Echo devices” and “audio

drivers for the speaker and microphones on the Echo devices”); D’Souza Decl. ¶¶ 2, 4 (lives and

works in Austin and oversees development of Whole Foods mobile technology and integration

with Amazon technology), ¶ 5 (identifying Troy Miller, also based in Austin, a Senior IT Project

manager, a member of Mr. D’Souza’s team as a potential witness).) Freshub also argues that for

Vibhav Salgaonkar and other Seattle witnesses, “it is immaterial whether [they] must be called to

Waco or to Austin.” (Opp. at 7.) But this ignores that Seattle-based witnesses can fly non-stop to

Austin and can work out of offices there; they cannot do the same in Waco. (See Mot. at 5-6.)

VIII. THIS CASE IS NO DIFFERENT THAN DATA SCAPE AND TRANSFER TO
      AUSTIN IS WARRANTED.
       In Data Scape, which Freshub does not even mention in its opposition, the Court consid-

ered nearly identical facts and granted intra-district transfer from Waco to Austin. Data Scape,

Ltd. v. Dell Techs., Inc., No. 6:19-cv-129-ADA, Dkt. 44 (W.D. Tex. June 7, 2019). In that case,

just like the parties here, neither Data Scape nor Dell was based in Waco or had offices or employ-

ees in Waco. And just like Amazon and Whole Foods, Dell had both offices and employee wit-

nesses in Austin. Id. at 3-4. Just as in Data Scape, Freshub “proffers neither facts nor arguments

sufficient to demonstrate why this case should remain in Waco,” and “[m]ost—if not all—of the

relevant connections in this case are to Austin rather than to Waco.” Id. at 2. The Court should

transfer this case to the Austin Division.5




   5
      Freshub’s argument that granting transfer here would “set[] [a] dangerous precedent” lacks
merit. (See Opp. at 1.) Whole Foods is headquartered in Austin, and Amazon has employees and
facilities there. These facts would not apply to most patent cases filed in this division.


                                                5
         Case 6:19-cv-00388-ADA Document 25 Filed 09/03/19 Page 9 of 9




                                                    Respectfully, submitted,

                                                    /s/ Barry K. Shelton
                                                    Barry K. Shelton (TX Bar #24055029)
                                                    bshelton@sheltoncoburn.com
  Of Counsel:                                       SHELTON COBURN LLP
                                                    311 RR 620 S, Suite 205
  J. David Hadden, CSB No. 176148                   Austin, TX 78734
  Email: dhadden@fenwick.com                        Tel: (512) 263-2165
  Saina S. Shamilov, CSB No. 215636                 Fax: (512) 263-2166
  Email: sshamilov@fenwick.com
  Ravi R. Ranganath
  rranganath@fenwick.com
  Vigen Salmastlian, CSB No. 276846
  Email: vsalmastlian@fenwick.com
  FENWICK & WEST LLP
  Silicon Valley Center
  801 California Street
  Mountain View, CA 94041
  Telephone: 650.988.8500
  Facsimile: 650.938.520
                                                    Counsel for Defendant
                                                    AMAZON.COM, INC., AMAZON DIGITAL
                                                    SERVICES, LLC, PRIME NOW, LLC; and
                                                    WHOLE FOODS MARKET, INC.

  September 3, 2019


                                CERTIFICATE OF SERVICE

       The foregoing document was filed under the Court’s CM/ECF system, automatically ef-

fecting service on counsel of record for all other parties who have appeared in this action on the

date of such service.



                                                    /s/ Barry K. Shelton
 September 3, 2019                                    Barry K. Shelton




                                                6
